ILND 450 (Rev. Case:    1:16-cv-09458
               10/13) Judgment in a Civil Action Document   #: 146 Filed: 09/23/19 Page 1 of 1 PageID #:532

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    Darryl Henderson,

    Plaintiff(s),
                                                                    Case No. 16 CV 9458
    v.                                                              Judge Sharon Johnson Coleman

    Mary D. Schwarz,

    Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                             which      includes       pre–judgment interest.
                                        does not include pre–judgment interest.

           Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

           Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Mary D. Schwarz
                    and against plaintiff(s) Darryl Henderson
.
           Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

   tried by a jury with Judge      presiding, and the jury has rendered a verdict.
   tried by Judge      without a jury and the above decision was reached.
   decided by Judge Sharon Johnson Coleman on a motion for summary judgment on administrative
exhaustion.



Date: 9/23/2019                                                 Thomas G. Bruton, Clerk of Court

                                                                Yvette Montanez , Deputy Clerk
